Case 8:23-cv-00173-KK-KES Document 63 Filed 12/25/23 Page 1 of 8 Page ID #:1828
     Case 8:23-cv-00173-KK-KES Document 63 Filed 12/25/23 Page 2 of 8 Page ID #:1829




         I.        3/$,17,))6¶ &/$,06

                     A.       Summary of Claims Plaintiffs Plan to Pursue

                     3ODLQWLIIV¶ FRPSODint stated 9 claims against the Defendants PCX, INC.
                     'HIHQGDQWV PRYHG WR GLVPLVV 3ODLQWLII¶V FRPSODLQW in its entirety. The
                      Court granted 'HIHQGDQW¶V PRWLRQ to dismiss as to Plaintiff's second,
                     fourth and sixth Cause of Action.

                     Claim 1: Defendant PCX violated 42 U.S.C § 1981 when the
                    discriminated because of race.
                    Claim 3: Defendants PCX violated Title VII of the Civil Rights Act of
                    1964 when they discriminated based on race.
                    Claim 5: Defendants PCX violated )(+$ &DO *RY¶W &RGH § 12940(a)

                      Claim 7: Defendants PCX violated California Equal Pay Act Labor Code
                    § 1197.5(a)
                    Claim 8: Defendants PCX violated California Fair Chance Act: Cal GoY¶W
                    Code § 12952
                    Claim 9: Defendants PCX violated California Labor Code § 201-203
                    Wage and Waiting Time Penalties
                    B. (OHPHQWV RI 3ODLQWLIIV¶ Claims and Evidence in Support

                           1. Claim 1: Violated 42 U.S.C § 1981

                                   a.   Elements

                         1. The Plaintiff was a party to a contract or plaintiff attempted but was
                              unable to make a contract or the plaintiff attempted but was unable
                            to [make a contract] [perform a contract] [modify a contract]
                            [terminate a contract] or [enjoy all benefits, privileges, terms, and
                            conditions of the contractual relationship].


      2                                  
     Case 8:23-cv-00173-KK-KES Document 63 Filed 12/25/23 Page 3 of 8 Page ID #:1830




                     2. 7KH SODLQWLII¶V LQDELOLW\ WR >PDNH D FRQWUDFW@ >SHUIRUP D FRQWUDFW@
                         [modify a contract] [terminate a contract] or [enjoy all benefits,
                        privileges, terms, and conditions of the contractual relationship]
                        was ³EHFDXVH RI ³GHIHQGDQW¶V purposeful discrimination against the
                         SODLQWLII RQ WKH EDVLV RI WKH SODLQWLII¶V UDFH

                     See Ninth Circuit Manual of Model Jury Instructions 1220 (Section
                      1981)

                     6HH´ 'RPLQR¶V 3L]]D ,QF Y 0F'RQDOG  86    See
                      :RRGV Y *UDSKLF &RPPF¶QV  )G  -03 (9th Cir. 1991).
                     See Rivers v. Roadway Exp., Inc., 511 U.S. 298, 302 (1994) See Comcast
                     &RUS Y 1DW¶O $VV¶Q RI $IU $P-Owned Media, 140 S. Ct. 1009, 1019
                      (2020).

                           b. Key Evidence in Support

                 Plaintiff¶V NH\ evidence consists of testimony from witnesses and both
      parties leading up to the discrimination and thereafter, various documentation of

      the offer and termination letter, applications, background screening and PCX¶V
    company policy. Comparison evidence through testimony and documentation.

                      2. Claim 3: Title VII of the Civil Rights Act of 1964

                                  a. Elements

                        1. Plaintiff must show she is a member of a protected class,
                        2. She was qualified for the position or was performing
                           competently in the position held,

                        3. She suffered an adverse employment action, such as
                             termination, demotion, or denial of an available job, and

                        4. Some other circumstances suggest a discriminatory motive.
                             Often the fourth element is stated as similarly situated

                             individuals outside his protected class were treated more
                           favorably.
                    See Chuang v. Univ of Cal Davis, Bd. Of Trs., 225 F.3d 1115, 1123 (9th
    Cir. 2002)

      3                             
     Case 8:23-cv-00173-KK-KES Document 63 Filed 12/25/23 Page 4 of 8 Page ID #:1831




                                  b. Key Evidence in Support
                 Plaintiff¶V NH\ HYLGHQFH FRQVLVWV RI WHVWLPRQ\ of witnesses and both
     parties leading up to the discrimination and thereafter, various documentation of
      the offer and termination letters, applications, background screenings and PCX¶V
     company policy. Comparison evidence through testimony and documentation of
     similarly situated individuals. 3ODLQWLIIV¶ TXDOLILFDWLRQV and skills (resume)

                      3. Claim 5: )(+$ &DO *RY¶W &RGH   D

                                   a. Elements

                          1. Defendant was an employer;

                          2. Plaintiff was an employee of Defendant or applied for a job of
                              the Defendant.

                          3. Defendant discharge or fail to hire the Plaintiff or Defendant
                               subjected Plaintiff to an adverse action

                          4. That Plaintiff protective class (race) was substantial motivating
                               UHDVRQ IRU 'HIHQGDQWV¶ decision to discharge or fail to hire
                             Plaintiff.

                            5. That the Plaintiff was harmed and;

                          6. 'HIHQGDQWV¶ conduct was the substantial factor in causing the
                               3ODLQWLII¶V KDUP

                    See Jury Instructions CACI No. 2500
                      McDonnell Douglas Corp. v. Green (1973) 411 U.S. 792 [93
                            S.Ct. 1817, 36 L.Ed. 2d 668].

                                   b. Key Evidence in Support

                Plaintiff¶V NH\ HYLGHQFH FRQVLVWV RI WHVWLPRQ\ of witnesses and both

      parties leading up to the discrimination and thereafter, various documentation of
    the offer and termination letters, applications, background screenings DQG 3&;¶V
    company policy. Comparison evidence through testimony and documentation of
      similarly situated individuals. 3ODLQWLIIV¶ qualifications and medical records.

      4                               
     Case 8:23-cv-00173-KK-KES Document 63 Filed 12/25/23 Page 5 of 8 Page ID #:1832




                     4. Claim 7: California Equal Pay Act Labor Code § 1197.5(a)

                                 a. Elements
                         1. Plaintiff was paid less than the rate paid to a person(s) of another
                            race working for the Defendant,
                         2. That the Plaintiff was performing substantially similar work as
                            the other person(s) considering the overall combination of skill,
                             effort and responsibility required and

                         3. That Plaintiff was working under similar working conditions as
                             the other person(s)

                See Jury Instructions CACI No. 2740

                                b. Key Evidence in Support
              Plaintiff¶V NH\ HYLGHQFH FRQVLVWV RI documentation, testimony of witnesses
    and parties, admission in deposition that counterpart was paid more than the Black
      new hires and account executive replacements applications with attached offer

      letters revealing higher salaries.

                      5. Claim 8: California Fair Chance Act *RY¶W &RGH § 12952

                                a. Elements.
                        1. Consider how long ago your conviction occurred and whether it
                           is directly related to the job;
                        2. Notify you in writing identify the conviction that are the problem
                           you provide a copy of your record and tell you the date by which
                             you can respond

                          3. Allow you at least five business days to respond.

                                x If the conviction report was inaccurate, you can respond
                                    by submitting evidence showing those inaccuracies.

                                x You can also submit information showing that the
                                    employer should hire you anyway, such as letters or

                                    reference, an explanation of what led to the conviction,

      5                              
     Case 8:23-cv-00173-KK-KES Document 63 Filed 12/25/23 Page 6 of 8 Page ID #:1833




                                       and proof of recent education training volunteering or
                                        work experience.

                             4. Notify you in writing if the employer decides to revoke your job
                                 offer.

                     See California Civil Rights Department (DFEH)

                                     b. Key Evidence in Support
              Plaintiff¶V NH\ HYLGHQFH FRQVLVWV RI GRFXPHQWDWLRQ of the law, evidential
     testimony, PCX applications, Background screening results, and adverse letter.
                         6. Claim 9: California Labor Code § 201-203
                                    a. Elements.

                               1. That Plaintiff¶V HPSOR\PHQW ZLWK Defendants ended; and

                             2. That the Defendants willfully failed to pay when all wages
                                  when due.

               The term ³ZLOOIXOO\´ PHDQV only that the employer intentionally failed
      or refused to pay the wages. It does not imply the need for additionally bad
    motives.

                         See CACI No. 2704

                                      b. Key Evidence in Support

               Plaintiff¶V NH\ HYLGHQFH FRQVLVWV RI emails from 3&;¶V HR manager
      Mary Jane, text messages from David Ratliff the sales manager and check stub
    received from PCX.

       II.      D(1)(1'$17¶6 &2817(5&/$,06                               AFFIRMATIVE
              DEFENSES.

                A. There are no counterclaims.

                B. Defendants have not discussed or explained to Plaintiff directly any

                   affirmative defenses therefore Plaintiff cannot rebut affirmative defenses.
                 Plaintiffs asked for affirmative defenses during discovery and Defendants
                 did not produce to the Plaintiff any affirmative defenses instead
      6                                  
     Case 8:23-cv-00173-KK-KES Document 63 Filed 12/25/23 Page 7 of 8 Page ID #:1834




                      Defendants added them to the Answer to the Complaint which had
                       deficiencies according to the Courts.

 III.           PL$,17,))6¶ 326,7,21 21 $17,&,3$7(' (9IDENTIARY
                 ISSUES.

                            A. Plaintiff has no evidentiary issues currently.

                           B. Currently there are no other evidentiary issues to make
                               aware.

 IV.            3/$,17,))¶6 ,668( 2) /$:
                          1. Defendants claim to be exempt from the Fair Chance Act because
                            of Statue 10 U.S. Code § 4656 - Prohibition on persons convicted of
                              defense-contract related felonies and related criminal penalty on
                            defense contractors. It states that an individual who is convicted of
                            fraud or any other felony arising out of a contract with the
                              Department of Defense shall be prohibited from each of the
                            following;
    (A)Working in a management or supervisory capacity on any defense contract or any first tier subcontract of a defense contract.(B)Serving on the
      board of directors of any defense contractor or any subcontractor awarded a contract directly by a defense contractor. (C)Serving as a consultant
    to any defense contractor or any subcontractor awarded a contract directly by a defense contractor. (D)Being involved in any other way, as
      determined under regulations prescribed by the Secretary of Defense, with a defense contract or first tier subcontract of a defense contract.
    (2)Except as provided in paragraph (3), the prohibition in paragraph (1) shall apply for a period, as determined by the Secretary of Defense, of not
      less than five years after the date of the conviction. (3)The prohibition in paragraph (1) may apply with respect to an individual for a period of
      less than five years if the Secretary determines that the five-year period should be waived in the interests of national security. (4)The prohibition
    in paragraph (1) does not apply with respect to the following: (A)A contract referred to in subparagraph (A), (B), (C), or (D) of such paragraphs
      that is not greater than the simplified acquisition threshold (as defined in section 134 of title 41). (B)A contract referred to in such subparagraph
    that is for the acquisition of commercial products or commercial services (as defined in sections 103 and 103a, respectively, of title 41). (C)A
      subcontract referred to in such subparagraph that is under a contract described in subparagraph (A) or (B). (b)CRIMINAL PENALTY.²A
      defense contractor or subcontractor shall be subject to a criminal penalty of not more than $500,000 if such contractor or subcontractor is
    convicted of knowingly² (1)employing a person under a prohibition under subsection (a); or (2)allowing such a person to serve on the board of
      directors of such contractor or subcontractor. (c)SINGLE POINT OF CONTACT FOR INFORMATION.² (1)The Attorney General shall ensure
    that a single point of contact is established to enable a defense contractor or subcontractor to promptly obtain information regarding whether a
      person that the contractor or subcontractor proposes to use for an activity covered by paragraph (1) of subsection (a) is under a prohibition under
      that subsection. (2)The procedure for obtaining such information shall be specified in regulations prescribed by the Secretary of Defense under
    subsection (a).


                         2. DefendanWV¶ interpretation of this law is misleading the Court
                            because this law does not pertain to the Plaintiff for two reasons.
                                    x Plaintiff has never been convicted are charged with fraud or a
                                      felony;


      7                                                 
     Case 8:23-cv-00173-KK-KES Document 63 Filed 12/25/23 Page 8 of 8 Page ID #:1835




                             x Plaintiff has never been convicted of fraud or any other
                                felonies or any felonies arising out of a contract with The
                               Department of Defense (DOD). Which is what this law is
                               speaking about.
      V.      BIFURCATION OF ISSUES
 
               The parties have not requested bifurcation of any issues at this time.
 
      VI.      DEMAND FOR JURY TRIAL
 
              Plaintiff made a timely demand for a jury trial as to all issues are triable.
                                   A. Issues Triable to the Jury

                                       1. All issues as so demanded.

     VII.      $77251(<6¶ )((6

             Plaintiff is Pro Se, and therefore is not entitled to Attorney fees.
 VIII.       ABANDONMENT OF ISSUES
             Plaintiff has only abandoned those issues the Court expressly dismissed via
             its order partially granting Defendants motion to dismiss. Plaintiffs are
               unaware of any issues the Defendants have abandoned.




      Date: December 25, 2023,                               Respectfully submitted,

                                                          By:     

                                                             Nicole Freeling, Pro Se.





      8                                
